Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 1 of 36 Page ID #:7




                Exhibit A
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                                                                             SUMMONS                                                                                                       FOR COURT USE ONLY
                                                                                                                                                                                       (SOLO PARA USO DELA CORM
                                                               (MACKIN JUDICIAL)                                                                                                      Electronically
      NOTICE TO DEFENDANT:
      (AViSO AL DEMANDADO):
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                                                                                                                                                                                    by Superior Court of California
      AMAZON.COM SERVICES LLC; and.DOES 1-100                                                                                                                                             County of Ventura
                                                                                                                                                                                          07/19/2022
                                                                                                                                                                                         Brenda L. McCormick
      YOU ARE BEING SUED BY PLAINTIFF:                                                                                                                                                 Executive Officer and Clerk
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      DALIE ELYSE YOUNG, an individual
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        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 3 of 36 Page ID #:9

                                             SUPERIOR COURT OF CALIFORNIA
                                                  COUNTY OF VENTURA
                                                            800 South Victoria Avenue
                                                               Ventura , CA 93009
                                                                 (805) 289-8525
                                                             W1NW.VENTURA.COURTS.CA.GOV


                              NOTICE OF CASE ASSIGNMENT AND MANDATORY APPEARANCE


                                                    Case Number: 56-2022-00568151-CU-OE-VTA

       Your case has been assigned for all purposes to the judicial officer indicated below.
       A copy of this Notice of Case Assignment and Mandatory Appearance shall be served by the filing party on all
       named Defendants/Respondents with the Complaint or Petition, and with any Cross-Complaint or Complaint in
       Intervention that names a new party to the underlying action.


2          ASSIGNED JUDICIAL OFFICER                              COURT LOCATION                            DEPT/ROOM
a_
         Hon. Mark Borrell                                                  Ventura                              40

           HEARING MANDATORY APPEARANCE CMC/Order to Show Cause Re Sanctions/Dismissal
                          for Failure to File Proof of Service/Default
ri
111        EVENT DATE                                                    EVENT TIME                      EVENT DEPT/ROOM
c\I          07/31/2023                                                   08:15 AM                               22B
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0)                                                SCHEDULING INFORMATION
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       Judicial Scheduling Information
a)        APPEARANCE AT THE ABOVE HEARING IS MANDATORY.
E         Each party must file a Case Management Statement no later than 15 calendar days prior to the hearing
          and serve it on all parties. If your Case Management Statement is untimely, it may NOT be considered
_o        by the court (CRC 3.725).
U)        If proof of service and/or request for entry of default have not been filed: At the above hearing you are
          ordered to show cause why you should not be compelled to pay sanctions and/or why your case should
a)        not be dismissed (CCP 177.5, Local Rule 3.17).
737)
 a) Advance Jury Fee Requirement
.c   At least one party demanding a jury trial on each side of a civil case must pay a non-refundable jury fee of $150.
 0   The non-refundable jury fee must be paid timely pursuant to Code of Civil Procedure section 631.

_c
a)
0 Noticed Motions/Ex Parte Matters
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0  To set an ex parte hearing, contact the judicial secretary in the assigned department. Contact the clerk's office
   to reserve a date for a law and motion matter.

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        Telephonic Appearance
 0       Telephonic appearance at the Case Management Conference is permitted pursuant to CRC 3.670. In addition,
.a9      see Local Rule 7.01 regarding notice to the teleconference provider. The court, through the teleconference
         provider, will contact all parties and counsel prior to the hearing.

EI2                                                                           Clerk of the Court,
       Date: 07/22/2022
a)                                                                            Dolores Hernandez, Clerk

      VEN-FNR082
                                    NOTICE OF CASE ASSIGNMENT AND MANDATORY APPEARANCE
                                                                                          Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 4 of 36 Page ID #:10
                                                                                                                                                                                                                                                                  CM-010
                                                                                         ATTORNEY OR PARTY WITHOUT ATTORNEY Name State Bar number and address):                                                                  FOR COURT USE ONLY
                                                                                        —KARL GERBER, SBN: 166003; ANN GULESER, SBN: 210790
                                                                                         EMPLOYMENT LAWYERS GROUP
                                                                                         13418 VENTURA BLVD.
                                                                                                                                                                                                                           Electronically
                                                                                         SHERMAN OAKS CA 91423
                                                                                                  TELEPHONE NO.:                                       FAX NO.:
                                                                                         ATTORNEY FOR (Name):       DAUB ELYSE YOUNG, Plaintiff                                                                       by Superior Court of California
                                                                                        SUPERIOR COURT OF CALIFORNIA, COUNTY OF VENTURA                                                                                     County ofVentura
                                                                                               STREET ADDRESS:      800 SOUTH VICTORIA AVENUE                                                                               07119/2022
                                                                                              MAILING ADDRESS:                                                                                                                Brenda L. McCormick
                                                                                                                                                                                                                            Executive Officer and Clerk
                                                                                              CITY AND ZIP CODE:VENTURA., 93009
                                                                                                   BRANCH NAME: VENTURA COUNTY SUPERIOR COURT
                                                                                          CASE NAME:                                                                                                                                olores Herna~rkldz
                                                                                          YOUNG V. AMAZON.COM SERVICES LLC                                                                                                           Deputy Clerk
                                                                                                                                                                                 CASE NUMBER:
                                                                                            CIVIL CASE COVER SHEET                           Complex Case Designation
                                                                                        n    Unlimited            Limited  n                   Counter       Q     Joinder
                                                                                                                                                                                  56-2022-00568151-C U-0 E-VTA
                                                                                             (Amount               (Amount                                                        JUDGE:
Ventura Superior Court Accepted through eDelivery submitted 07-19-2022 at 03:15:49 PM




                                                                                             demanded              demanded is          Filed with first appearance by defendant
                                                                                             exceeds $25,000)      $25,000 or less)         (Cal. Rules of Court, rule 3.402)      DEPT:

                                                                                                                      Items 1-6 below must be completed (see instructions on page 2).
                                                                                        1. Check one box below for the case type that best describes this case:
                                                                                             Auto Tort                                            Contract                                              Provisionally Complex Civil Litigation
                                                                                             [T_I Auto (22)                                       1- 1 Breach of contract/warranty (06)                 (Cal. Rules of Court, rules 3.400-3.403)
                                                                                             ri    U• ninsured motorist (46)                      1- 1 R• ule 3.740 collections (09)                    LI     Antitrust/Trade regulation (03)
                                                                                             Other PI/PD/WD (Personal Injury/Property             LIOther collections (09)                              LI     Construction defect (10)
                                                                                             DamageNVrongful Death) Tort                            Insurance coverage (18)                             LI     Mass tort (40)
                                                                                             C-1   A• sbestos (04)                            LI    Other contract (37)                                        Securities litigation (28)
                                                                                             I- 7 P• roduct liability (24)                    Real Property                                             LI     Environmental/Toxic tort (30)
                                                                                             17    M• edical malpractice (45)                     n E• minent domain/Inverse                            LI     Insurance coverage claims arising from the
                                                                                                  O• ther PI/PD/WD (23)                             condemnation (14)                                          above listed provisionally complex case
                                                                                                                                              71 Wrongful eviction (33)                                        types (41)
                                                                                             Non-P[/PD/WD (Other) Tort
                                                                                                  Business tort/unfair business practice (07) n     O• ther real property (26)                          n
                                                                                                                                                                                                        EnforcR
                                                                                                                                                                                                              eince
                                                                                                                                                                                                                  ion(t2o7f)Judgment
                                                                                                     Civil rights (08)                            Unlawful Detainer                                     n      E• nforcement of judgment (20)
                                                                                                     Defamation (13)                                        Commercial (31)                             Miscellaneous Civil Complaint
                                                                                             ICI     Fraud (16)                                   LI        Residential (32)
                                                                                             CI Intellectual property (19)                                  Drugs (38)                                  1- 1 O• ther complaint (not specified above) (42)
                                                                                                   Professional negligence (25)                   JnudiciaAlsRseevt                                     Misce!P
                                                                                                                                                                                                              IaanrtenoeursshC
                                                                                                                                                                                                                             ipivainPetition
                                                                                                                                                                                                                                   ld
                                                                                                   Other non-PI/PD/WD tort (35)                                      ifeow
                                                                                                                                                                         rfeiture (05)
                                                                                                                                                                                                                                           rate governance (21)
                                                                                              Employment                                                    Petitionof re:arbitr(aoti2o)n award (11)
                                                                                                                                                                                                        n     O• ther petition (not specified above) (43)
                                                                                             n     Wrongful termination (36)                                Writ mandate
                                                                                             1- 7 O• ther employment (15)                                  O• ther judicial review (39)
                                                                                        2. This case          1- 1- is               is not
                                                                                                                                     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                                                                                             factors requiring exceptional judicial management:
                                                                                             a. 1=1 Large number of separately represented parties          d. 1111 Large number of witnesses
                                                                                             b. LI Extensive motion practice raising difficult or novel e.          Coordination with related actions pending in one or more courts
                                                                                                      issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
                                                                                             c. 1=1   Substantial amount of documentary evidence            f. 0    Substantial postjudgment judicial supervision
                                                                                        3.   Remedies sought (check all that apply): ari monetary b.                      ri
                                                                                                                                                                   nonmonetary; declaratory or injunctive relief                                      c.   n     punitive
                                                                                        4.   Number of causes of action (specify): FIVE (5)
                                                                                        5.   This case Ti is                   I—I
                                                                                                                          is not a class action suit.
                                                                                        6.   If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
                                                                                        Date: July 19, 2022
                                                                                        ANN GULESER
                                                                                                                           (TYPE OR PRINT NAME)                                                        (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                                                                                              NOTICE
                                                                                          • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                                                                                            under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                                                                                            in sanctions.
                                                                                          • File this cover sheet in addition to any cover sheet required by local court rule.
                                                                                          • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                                                                                            other parties to the action or proceeding.
                                                                                          • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                                                                                                   Page 1 012
                                                                                        Form Adopted for Mandatory Use                                                                                              Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
                                                                                          Judicial Council of California                          CIVIL CASE COVER SHEET                                                    Cal. Standards of Judicial Administration, std. 3.10
                                                                                          CM-010 [Rev. July 1, 2007]                                                                                                                                      www.courtinfo.ca.gov

                                                                                                                                                           OUTDATED
                                                                                           Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 5 of 36 Page ID #:11

                                                                                                                                                                                                                             CM-010
                                                                                                                          INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
                                                                                        To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
                                                                                        complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
                                                                                        statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
                                                                                        one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
                                                                                        check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
                                                                                        To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
                                                                                        sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
                                                                                        its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
                                                                                        To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
                                                                                        owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
                                                                                        which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
                                                                                        damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
                                                                                        attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
                                                                                        time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
                                                                                        case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
                                                                                        To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
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                                                                                        case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
                                                                                        completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
                                                                                        complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
                                                                                        plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
                                                                                        the case is complex.
                                                                                                                                                  CASE TYPES AND EXAMPLES
                                                                                        Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
                                                                                             Auto (22)—Personal Injury/Property            Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
                                                                                                  Damage/Wrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
                                                                                             Uninsured Motorist (46) (if the                         Contract (not unlawful detainer            Construction Defect (10)
                                                                                                  case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
                                                                                                  motorist claim subject to                     ContractNVarranty Breach—Seller                 Securities Litigation (28)
                                                                                                  arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
                                                                                                  instead of Auto)                              Negligent Breach of Contract/                   Insurance Coverage Claims
                                                                                        Other PI/PD/WD (Personal Injury/                             Warranty                                        (arising from provisionally complex
                                                                                        Property Damage/Wrongful Death)                         Other Breach of Contract/Warranty                    case type listed above) (41)
                                                                                        Tort                                               Collections (e.g., money owed, open              Enforcement of Judgment
                                                                                             Asbestos (04)                                      book accounts) (09)                             Enforcement of Judgment (20)
                                                                                                  Asbestos Property Damage                      Collection Case—Seller Plaintiff                    Abstract of Judgment (Out of
                                                                                                  Asbestos Personal Injury/                     Other Promissory Note/Collections                         County)
                                                                                                        Wrongful Death                               Case                                           Confession of Judgment (non-
                                                                                             Product Liability (not asbestos or            Insurance Coverage (not provisionally                          domestic relations)
                                                                                                  toxic/environmental) (24)                     complex) (18)                                       Sister State Judgment
                                                                                             Medical Malpractice (45)                           Auto Subrogation                                    Administrative Agency Award
                                                                                                  Medical Malpractice—                          Other Coverage                                          (not unpaid taxes)
                                                                                                        Physicians & Surgeons              Other Contract (37)                                      Petition/Certification of Entry of
                                                                                                  Other Professional Health Care                Contractual Fraud                                       Judgment on Unpaid Taxes
                                                                                                        Malpractice                             Other Contract Dispute                               Other Enforcement of Judgment
                                                                                             Other PI/PDNVD (23)                        Real Property                                                     Case
                                                                                                  Premises Liability (e.g., slip           Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                                                                                                        and fall)                               Condemnation (14)                               RICO (27)
                                                                                                  Intentional Bodily lnjury/PD/VVD         Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                        (e.g., assault, vandalism)                                                                   above) (42)
                                                                                                                                           Other Real Property (e.g., quiet title) (26)
                                                                                                  Intentional Infliction of                     Writ of Possession of Real Property                 Declaratory Relief Only
                                                                                                        Emotional Distress                                                                          Injunctive Relief Only (non-
                                                                                                                                                Mortgage Foreclosure
                                                                                                  Negligent Infliction of                                                                                 harassment)
                                                                                                                                                Quiet Title
                                                                                                        Emotional Distress                      Other Real Property (not eminent                    Mechanics Lien
                                                                                                  Other PI/PDNVD                                domain, landlord/tenant, or                         Other Commercial Complaint
                                                                                        Non-PI/PD/WD (Other) Tort                               foreclosure)                                              Case (non-tort/non-complex)
                                                                                                                                        Unlawful Detainer                                           Other Civil Complaint
                                                                                             Business Tort/Unfair Business                                                                               (non-tort/non-complex)
                                                                                                 Practice (07)                             Commercial (31)
                                                                                                                                                                                            Miscellaneous Civil Petition
                                                                                             Civil Rights (e.g., discrimination,           Residential (32)                                     Partnership and Corporate
                                                                                                 false arrest) (not civil                  Drugs (38) (if the case involves illegal                  Govemance (21)
                                                                                                  harassment) (08)                              drugs, check this item; otherwise,              Other Petition (not specified
                                                                                            Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above) (43)
                                                                                                   (13)                                 Judicial Review                                             Civil Harassment
                                                                                            Fraud (16)                                     Asset Forfeiture (05)                                    Workplace Violence
                                                                                             Intellectual Property (19)                    Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
                                                                                            Professional Negligence (25)                   Writ of Mandate (02)                                           Abuse
                                                                                                 Legal Malpractice                              Writ—Administrative Mandamus                        Election Contest
                                                                                                 Other Professional Malpractice                 Writ—Mandamus on Limited Court                      Petition for Name Change
                                                                                                      (not medical or legal)                        Case Matter                                     Petition for Relief From Late
                                                                                              Other Non-PI/PD/VVD Tort (35)                     Writ—Other Limited Court Case                             Claim
                                                                                        Employment                                                 Review                                           Other Civil Petition
                                                                                            Wrongful Termination (36)                      Other Judicial Review (39)
                                                                                            Other Employment (15)                               Review of Health Officer Order
                                                                                                                                                Notice of Appeal—Labor
                                                                                                                                                   Commissioner Appeals
                                                                                        CM-010 [Rev. July 1, 2007]                                                                                                              Page 2 of 2
                                                                                                                                            CIVIL CASE COVER SHEET
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 6 of 36 Page ID #:12




                                                                                                                                                         Electronically
                                                                                         1 EMPLOYMENT LAWYERS GROUP                                       FILED




                                                                                                                                                                                        CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                         2 KARL GERBER, SBN: 166003                                   by Superior Court of California
                                                                                           ANN GULESER, SBN: 210790                                         County ofVentura
                                                                                         3 13418 Ventura Boulevard
                                                                                                                                                             07/19/2022
                                                                                         4 Sherman Oaks, California 91423                                  Brenda L. McCormick
                                                                                           Telephone: 818 783 7300                                       Executive Officer and Clerk
                                                                                         5 Facsimile: 818 995 7159
                                                                                          6 Attorneys for Plaintiff                                          trl:r:s7lerrTa4P.2
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                                                                                                                                                                 Deputy Clerk
                                                                                          7 DALIE ELYSE YOUNG

                                                                                          8                    SUPERIOR COURT FOR THE STATE OF CALIFORNIA
                                                                                          9                                  COUNTY OF VENTURA
                                                                                         10
                                                                                         11 DALIE ELYSE YOUNG, an individual )             CASE NO.: 56-2022-00568151-CU-OE-VTA
                                                                                                                             )
                                                                                         12
                                                                                                            Plaintiffs,      )             COMPLAINT FOR DAMAGES AND
                                                                                         13                                  )             DEMAND FOR JURY TRIAL BASED
                                                                                                   vs.                       )             UPON:
                                                                                         14                                  )             1. DISCRIMINATION BASED ON
                                                                                            AMAZON.COM SERVICES LLC; and DOES)                DISABILITY IN VIOLATION OF
                                                                                         15
                                                                                            1 through 100 inclusive          )                CALIFORNIA GOVERNMENT CODE
                                                                                         16                                  )                SECTIONS 12900 ET. SEQ.;
                                                                                                          Defendant.         )             2. PREGNANCY AND SEX
                                                                                         17                                  )                DISCRIMINATION IN VIOLATION
                                                                                                                             )                OF CALIFORNIA GOVERNMENT
                                                                                         18
                                                                                                                             )                CODE SECTION 12900 ET. SEQ.;
                                                                                         19                                  )             3. VIOLATIONS OF LABOR CODE
                                                                                                                             )                SECTIONS 1102.5(b) AND (c);
                                                                                         20                                  )             4. WRONGFUL TERMINATION IN
                                                                                         21                                  )                VIOLATION OF PUBLIC POLICY;
                                                                                                                             )             5. INTENTIONAL INFLICTION OF
                                                                                         22                                  )                EMOTION DISTRESS.

                                                                                         23         Plaintiff, DALIE ELYSE YOUNG, complains and alleges as follows:
                                                                                         24
                                                                                         25
                                                                                         26
                                                                                         27
                                                                                         28



                                                                                                                                       1
                                                                                                                                    COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 7 of 36 Page ID #:13




                                                                                          1




                                                                                                                                                                                                    CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                                                                GENERAL ALLEGATIONS
                                                                                          2
                                                                                                                        (AGAINST ALL NAMED DEFENDANTS)
                                                                                          3
                                                                                          4
                                                                                              1.     Plaintiff, DALIE ELYSE YOUNG ("Plaintiff'), is a female resident of the County of Los
                                                                                          5
                                                                                              Angeles, State of California over the age of 18.
                                                                                          6 2.       Plaintiff is informed and believes that at all times herein mentioned, Defendant,
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                                                                                          7 AMAZON.COM SERVICES LLC ("AMAZON") employed Plaintiff, and more than 5 people at
                                                                                          8 its warehouse at 1757 Tapo Canyon Rd, Simi Valley, CA 93063, which it owned, managed and
                                                                                          9 operated.
                                                                                         10 3.      Plaintiff is ignorant of the true names and capacities thereto whether individual, corporate,
                                                                                            or associate, of those Defendants fictitiously sued as DOES 1 through 100 inclusive and so
                                                                                         11
                                                                                            Plaintiff sues them by these fictitious names. Plaintiff is informed and believes that each of the
                                                                                         12
                                                                                            DOE Defendant reside in the State of California and are in some manner responsible for the
                                                                                         13
                                                                                            conduct alleged herein. Upon discovering the true names and capacities of these fictitiously
                                                                                         14
                                                                                            named Defendants, Plaintiff will amend this complaint to show the true names and capacities of
                                                                                         15
                                                                                            these fictitiously named Defendants.
                                                                                         16 4.      Unless otherwise alleged in this complaint, Plaintiff is informed, and on the basis of that
                                                                                         17 information and belief, alleges that at all times herein mentioned, each of the remaining co
                                                                                         18 Defendant, in doing the things hereinafter alleged, were acting within the course, scope, and
                                                                                         19 under the authority of their agency, employment, or representative capacity, with the consent of
                                                                                         20 her/his co Defendant.
                                                                                            5.     Plaintiff began her employment with AMAZON on or about December 5, 2021 as a
                                                                                         21
                                                                                            warehouse associate.
                                                                                         22
                                                                                            6.     Plaintiff has a disability of gestational trophoblastic neoplasia ("GTN") which is a
                                                                                         23
                                                                                            pregnancy related disability as well as a condition that creates cancer in Plaintiff's body during
                                                                                         24
                                                                                            and after a pregnancy. GTN is a condition that creates a group of rare tumors that develop during
                                                                                         25
                                                                                            the early stages of pregnancy. There are no preventive medicines or treatments for GTD. The
                                                                                         26 only prevention is not to become pregnant. Plaintiffs physical disability of GTN limits
                                                                                         27 Plaintiff's major life activities such as working and socializing, and is therefore a physical
                                                                                         28



                                                                                                                                            2
                                                                                                                                         COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 8 of 36 Page ID #:14




                                                                                              disability under California Government Code Section 12926. California Government Code
                                                                                          1




                                                                                                                                                                                                      CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                              Section 12926 (m)(1) (A) and (m)(1) (B) states that "Physical disability" includes, but is not
                                                                                          2
                                                                                              limited to, having any physiological disease, disorder, or condition that affects body's
                                                                                          3
                                                                                              immunological, blood, and reproductive systems and limits a major life activity. Working is a
                                                                                          4
                                                                                              major life activity.
                                                                                          5
                                                                                              7.     In about May 2021 plaintiff had a molar pregnancy. Because of GTN, the pregnancy
                                                                                          6 became a tumor that had to extracted in two different surgeries in July and August 2021. In order
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                                                                                          7 to prevent the molar tissue from growing and becoming cancerous, in November and December
                                                                                          8 2021, Plaintiff underwent chemotherapy which was administered through a port catheter on her
                                                                                          9 chest.
                                                                                         10 8.     On January 7, 2022, Plaintiff had a procedure to remove the port catheter. Plaintiff was
                                                                                            out of work for a few weeks to recover from the surgery. On or about February 2, 2022 Plaintiff
                                                                                         11
                                                                                            was able to work with a restriction if no lifting more than 10 pounds until March 4, 2022.
                                                                                         12
                                                                                            Plaintiff was often instructed to do work that interfered with her restrictions, and each time she
                                                                                         13
                                                                                            had to explain to her supervisor Jose that she had surgery and was instructed not to lift over 10
                                                                                         14
                                                                                            pounds.
                                                                                         15
                                                                                            9.     On or about February 18, 2022, Plaintiff was sent home by AMAZON who told her she
                                                                                         16 was a liability. Plaintiff's wound from removal of the port was not healing and was creating
                                                                                         17 complications. After March 4, 2022, Plaintiff sent AMAZON an extension of her restrictions of
                                                                                         18 not lifting over 10 pounds for approximately two more weeks. Plaintiff worked for a day or two
                                                                                         19 in March, 2022. On March 12, 2022, AMAZON told Plaintiff not to report to work until she
                                                                                         20 received a call to come back to work by her case manager. Plaintiff was not called back to work
                                                                                            even though she was scheduled to work from March 13-15. Plaintiff was terminated on March
                                                                                         21
                                                                                              29, 2022. Plaintiffs lifting restrictions were to assist with the healing of the site of her surgery,
                                                                                         22
                                                                                              they were temporary, and were lifted in or about to the end of March 2022.
                                                                                         23
                                                                                              10.    Plaintiff's asking for disability leave, having a disability, treating for cancer prevention,
                                                                                         24
                                                                                              treating for a post pregnancy disability, and needing special accommodations to heal from the
                                                                                         25
                                                                                              side effects of her disability was a substantial motivating factor in Defendant's reason to
                                                                                         26 terminate Plaintiff. Plaintiff was fired in retaliation for being disabled, having cancer, needing
                                                                                         27
                                                                                         28



                                                                                                                                              3
                                                                                                                                           COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 9 of 36 Page ID #:15




                                                                                              special accommodations to heal from her disability, having a pregnancy related disability, and
                                                                                          1




                                                                                                                                                                                                    CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                              needing to take disability leave to heal.
                                                                                          2
                                                                                              11.    All of the foregoing and following actions taken towards Plaintiff that are alleged in this
                                                                                          3
                                                                                              complaint were carried out by managerial employees and agents of each other acting in a
                                                                                          4
                                                                                              deliberate, cold, callous, malicious, oppressive, and intentional manner in order to injure and
                                                                                          5
                                                                                              damage Plaintiff.
                                                                                          6
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                                                                                          7                                     FIRST CAUSE OF ACTION
                                                                                          8                           DISCRIMINATION BASED ON DISABILITY
                                                                                          9 IN VIOLATION OF CALIFORNIA GOVERNMENT CODE SECTIONS 12900 ET. SEQ.
                                                                                         10             (AGAINST DEFENDANT AMAZON, AND ALL DOE DEFENDANTS)

                                                                                         11
                                                                                              12.    Plaintiff realleges the information set forth in Paragraphs 1-11 of the General Allegations,
                                                                                         12
                                                                                              and by this reference hereby incorporates these paragraphs into this cause of action as if they
                                                                                         13
                                                                                              were fully alleged herein.
                                                                                         14
                                                                                              13.    Plaintiff has exhausted her administrative remedies under the California Fair Employment
                                                                                         15
                                                                                              and Housing Act. On July 19, 2022, Plaintiff filed charges of disability discrimination, including
                                                                                         16 needing a disability leave as special accommodations, failure to accommodate disability, failure
                                                                                         17 to accommodate treatment related to cancer, failure to engage in an interactive dialog, retaliation,
                                                                                         18 failure to reinstate, discriminatory termination against Defendant AMAZON. A true and correct
                                                                                         19 copy of said charges has been attached hereto, made a part hereof, and marked as Exhibit 1. On
                                                                                         20 July 19, 2022, the Department of Fair Housing and Employment issued the Notice of Case
                                                                                         21 Closure/Right-to-Sue Letter, allowing Plaintiff to sue said Defendant, a true and correct copy of
                                                                                              which has been attached hereto, made a part hereof, and Marked as Exhibit 1.
                                                                                         22
                                                                                              14.    Plaintiff had a disability of GTN, post pregnancy cancer, and needed the special
                                                                                         23
                                                                                              accommodations of restrictions not to lift over 10 pounds and disability leave to heal from the
                                                                                         24
                                                                                              complications of cancer treatment. On or about March 20, 2022, Defendant terminated
                                                                                         25
                                                                                              Plaintiffs employment because Plaintiff needed the special accommodation of time off to heal
                                                                                         26 and had temporary lifting restrictions due to her disability and disability related treatment as
                                                                                         27 alleged in Paragraphs 6-11.
                                                                                         28



                                                                                                                                             4
                                                                                                                                          COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 10 of 36 Page ID #:16




                                                                                              15.   This cause of action is based upon:
                                                                                          1




                                                                                                                                                                                                       CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                                        a. California Government Code Section 12940(a), which prohibits employers from
                                                                                          2
                                                                                                            discriminating against their employees because of their employee's physical
                                                                                          3
                                                                                                            disability, for terminating Plaintiff in discrimination of her disability and taking a
                                                                                          4
                                                                                                            disability leave;
                                                                                          5
                                                                                                        b. Government Code section 12926 (m) provides that physical disability, and
                                                                                          6                 medical condition, includes a perception that the person has any of those
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                                                                                          7                 characteristics;
                                                                                          8             c. California Regulations, Title 2, Section 11065 (d) (2) which defines physical
                                                                                          9                 disabilities as a disorder affecting one or more of the body's major life activities;

                                                                                         10             d. California Regulations, Title 2, Section 11065 (1) which defines "major life
                                                                                                            activities" to include caring for one's self, performing manual tasks, walking and
                                                                                         11
                                                                                                            working;
                                                                                         12
                                                                                                        e. California Government Code Section 12926 (m)(B)(iii) which defines "major life
                                                                                         13
                                                                                                            activities" to include physical, mental, and social activities and working.
                                                                                         14
                                                                                                        f. California Government Code Section 12926 (m)(3) which defines a "physical
                                                                                         15
                                                                                                            disability" to include having a record or history of a disease, condition, or health
                                                                                         16                 impairment as defined in section (m)(1) or (2), which is known to the employer;
                                                                                         17             g. California Government Code Section 12926 (m)(1) (A) and (m)(1) (B) which
                                                                                         18                 states that "Physical disability" includes, but is not limited to, all of the following:
                                                                                         19                 Having any physiological disease, disorder, condition, or anatomical loss that

                                                                                         20                 affects body's disease, disorder, or condition that affects body's immunological,
                                                                                                            blood, and reproductive systems;
                                                                                         21
                                                                                                        h. California Government Code Section 12926 (i)(1) "Medical condition" means
                                                                                         22
                                                                                                            any health impairment related to or associated with a diagnosis of cancer or a
                                                                                         23
                                                                                                            record or history of cancer;
                                                                                         24
                                                                                                        i. California Government Code Section 12926 (m)(1) (B) (ii) which states that a
                                                                                         25
                                                                                                            physiological disease, disorder, condition, or anatomical loss limits a major life
                                                                                         26                activity if it makes the achievement of the major life activity difficult;
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                                                                                                                                           COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 11 of 36 Page ID #:17




                                                                                                         j.    California Government Code Section 12940(h) which prohibits supervisors and
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                                                                                                                                                                                                        CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                                               employers from retaliating against employees when employees do not put up with
                                                                                          2
                                                                                                               statutorily prohibited conduct and exercise their rights under the Fair Employment
                                                                                          3
                                                                                                               and Housing Act for terminating Plaintiff in retaliation for taking a disability
                                                                                          4
                                                                                                               leave;
                                                                                          5
                                                                                                         k. California Government Code Section 12940(m), which makes it unlawful for an
                                                                                          6                    employer to fail to make special accommodations for the known physical
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                                                                                          7                    disability of an employee for terminating Plaintiff and refusing to provide
                                                                                          8                    Plaintiff disability leave and refusing to engage in an interactive dialogue to figure
                                                                                          9                    out whether Plaintiff would need any special accommodations to accommodate

                                                                                         10                    her disability;
                                                                                                          I.   California Government Code Sections 12900, 12921, 12926, 12926(h)(2),
                                                                                         11
                                                                                                               12926(h)(1), 12926(i)(1), 12965.
                                                                                         12
                                                                                              16.    Plaintiff alleges that the code sections enumerated above were violated because Defendant
                                                                                         13
                                                                                              terminated Plaintiff in discrimination for her disability and in retaliation for asking special
                                                                                         14
                                                                                              accommodations and taking a disability leave in violation of the California Government Code
                                                                                         15
                                                                                            Sections 12940(a) and 12940 (h). Defendant filed to accommodate Plaintiff causing her to
                                                                                         16 violate her restriction of not lifting over 10 pounds. Defendant violated Government Code
                                                                                         17 Sections 12940 et seq. by intentionally and maliciously terminating Plaintiff even though she
                                                                                         18 applied to take a protected leave generally violating Government Code Sections 12940 et seq.

                                                                                         19 Plaintiff alleges that Defendant's blatant disregard for the laws enumerated in the above
                                                                                         20 paragraph allows Plaintiff to recover punitive damages in an amount to be determined at trial.
                                                                                            17.    At all times relevant herein, Plaintiff performed her duties as an employee of defendant in
                                                                                         21
                                                                                            a competent, successful, and professional manner. Plaintiff is informed, believes, and thereon
                                                                                         22
                                                                                            alleges that Plaintiff was not fired for any reason related to her work performance. Plaintiff
                                                                                         23
                                                                                            alleges her termination was based upon her physical disability and need for special
                                                                                         24
                                                                                            accommodations. Plaintiff alleges that despite her physical disability, she could still perform the
                                                                                         25
                                                                                            essential functions of her job with Defendant, with special accommodations.
                                                                                         26 18.    As a direct, foreseeable, and proximate result of the conduct of said Defendant, the
                                                                                         27 Plaintiff has suffered, and continues to suffer severe emotional distress, substantial losses in
                                                                                         28



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                                                                                                                                           COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 12 of 36 Page ID #:18




                                                                                              salary, bonuses, job benefits, and other employment benefits which she would have received
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                                                                                                                                                                                                      CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                              from said Defendant, plus expenses incurred in obtaining substitute employment and not being
                                                                                          2
                                                                                              regularly employed for months, being without a source of income and medical insurance during
                                                                                          3
                                                                                              her employment all to her damage in a sum within the jurisdiction of this court, to be ascertain
                                                                                          4
                                                                                              according to proof. Plaintiff also prays for all equitable relief awardable pursuant to Harris v.
                                                                                          5
                                                                                              City of Santa Monica (2013) 56 Ca1.4th 203.
                                                                                          6 19.      Defendant acted in a grossly reckless, and/or intentional, malicious, and bad faith manner
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                                                                                          7 when they willfully violated the statutes enumerated in this cause of action and retaliated against
                                                                                          8 the Plaintiff for refusing to comply with their willful violations of the above referenced statutes
                                                                                          9 and terminating the Plaintiff in violation of the law.
                                                                                         10 20.   The Plaintiff is entitled to punitive damages against said Defendant, and each of them, in
                                                                                            an amount within the jurisdiction of this court, to be ascertained by the fact finder, that is
                                                                                         11
                                                                                              sufficiently high enough to punish said Defendant, deter them from engaging in such conduct
                                                                                         12
                                                                                              again, and to make an example of them to others.
                                                                                         13
                                                                                              21.    The Plaintiff also prays for reasonable costs and attorney fees and costs against said
                                                                                         14
                                                                                              Defendants named in this cause of action, as allowed by California Government Code Section
                                                                                         15
                                                                                              12965 for the Plaintiffs prosecution of this action in reference to the time the Plaintiffs attorneys
                                                                                         16 spend pursuing this cause of action.
                                                                                         17
                                                                                         18                                   SECOND CAUSE OF ACTION
                                                                                         19               PREGNANCY AND SEX DISCRIMINATION IN VIOLATION OF

                                                                                         20                CALIFORNIA GOVERNMENT CODE SECTION 12900 ET. SEQ.

                                                                                         21             (AGAINST DEFENDANT AMAZON, AND ALL DOE DEFENDANTS)

                                                                                         22
                                                                                              22.    Plaintiff re-alleges and incorporates paragraphs 1-11 of the General Allegations,
                                                                                         23
                                                                                              Paragraphs 12-21 of the First Cause of Action as though fully set forth herein.
                                                                                         24
                                                                                              23.    Plaintiff has exhausted her administrative remedies under the California Fair Employment
                                                                                         25
                                                                                              and Housing Act. On July 19, 2022, Plaintiff filed charges of pregnancy discrimination, failure
                                                                                         26 to accommodate pregnancy disability, discriminatory termination, denial of employment,
                                                                                         27 retaliation against Defendant AMAZON a true and correct copy of which has been attached
                                                                                         28



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                                                                                                                                          COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 13 of 36 Page ID #:19




                                                                                              hereto, made a part hereof, and marked as Exhibit 1. On July 19, 2022, the Department of Fair
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                                                                                                                                                                                                    CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                              Housing and Employment issued the Notice of Case Closure/Right-to-Sue Letter, allowing
                                                                                          2
                                                                                              Plaintiff to sue said Defendant, of which a true and correct copy has been attached hereto, made
                                                                                          3
                                                                                              a part hereof, and Marked as Exhibit 1.
                                                                                          4
                                                                                              24.    This cause of action is based upon:
                                                                                          5
                                                                                                     a. California Government Code Section 12940(a), which prohibits employers from
                                                                                          6              terminating and/or discriminating against their employees because of their employee's
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                                                                                          7              sex;
                                                                                          8          b. California Government Code Section 12940(h) which prohibits supervisors and
                                                                                          9              employers from retaliating against employees for refusing to put up with statutorily

                                                                                         10              prohibited conduct under the Fair Employment and Housing Act;
                                                                                                     c. California Code of Regulations Section 7291.2(d) which provide that discrimination
                                                                                         11
                                                                                                         because of pregnancy, childbirth or related medical conditions constitutes sex
                                                                                         12
                                                                                                         discrimination under Government Code Section 12940;
                                                                                         13
                                                                                                     d. California Government Code Section 12926(o) which provides that sex under the
                                                                                         14
                                                                                                         DFEH Act includes pregnancy, childbirth, or medical conditions related to pregnancy
                                                                                         15
                                                                                                         or childbirth;
                                                                                         16          e. California Government Code Section 12945 which prohibits employers from
                                                                                         17              terminating and discriminating against their employees because of their employee's
                                                                                         18              pregnancy, childbirth, or related medical conditions;
                                                                                         19          f. Article I Section VIII of the California Constitution, which prohibits sex and

                                                                                         20              pregnancy discrimination regardless of how many employees an employer has.
                                                                                                     g. All other state and federal statutes, regulations, administrative orders, and ordinances
                                                                                         21
                                                                                                         which discovery will reveal were violated by Defendant by discriminating against
                                                                                         22
                                                                                                         Plaintiff.
                                                                                         23
                                                                                              25.    Plaintiff alleges she was fired in discrimination and retaliation for having a disease of
                                                                                         24
                                                                                              GTN which created cancer after pregnancy, and requesting special accommodations as alleged in
                                                                                         25
                                                                                              Paragraphs 5-11 all due to pregnancy.
                                                                                         26 26.      Plaintiff alleges that the Defendant violated the statutes set forth in this cause of action
                                                                                         27 including California Government Code Section 12945, when Defendant terminated Plaintiff
                                                                                         28



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                                                                                                                                           COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 14 of 36 Page ID #:20




                                                                                                      of her sex, pregnancy related disability, and her need for special accommodations
                                                                                          1 because




                                                                                                                                                                                                     CASE #:56-2022-00568151-CU-0E-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                            because of pregnancy related disability. Defendant refused to accommodate Plaintiff's request
                                                                                          2
                                                                                            for accommodations which would have been accommodated by letting Plaintiff take time to heal
                                                                                          3
                                                                                            until released without restrictions or allowing Plaintiff to work under the restrictions of no lifting
                                                                                          4
                                                                                            more than 10 pounds until she healed by mid-March or the end of March 2022. Plaintiff alleges
                                                                                          5
                                                                                            that Defendant's conduct as described in this cause of action was taken towards her because she
                                                                                          6 is a woman and because she had a pregnancy related disability of GTN, and requested special
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                                                                                          7 accommodations to heal from the side effects of the chemotherapy treatment. Plaintiff alleges
                                                                                          8 that she would not have been discriminated against, and terminated if she were not a woman, had
                                                                                          9 she not been pregnant, and not needed special accommodations to accommodate pregnancy
                                                                                         10 related disability.
                                                                                            27.    As a direct, foreseeable, and proximate result of the conduct of all Defendant named in
                                                                                         11
                                                                                              this cause of action, and each of them, Plaintiff has suffered, and continues to suffer emotional
                                                                                         12
                                                                                              distress, as well as other financial losses to be ascertain according to proof.
                                                                                         13
                                                                                              28.    The grossly reckless, and/or intentional, malicious, and bad faith manner in which all
                                                                                         14
                                                                                              named Defendant, and each of them, engaged in those acts as described in this cause of action by
                                                                                         15
                                                                                              willfully violating those statutes enumerated in this cause of action and discriminating against
                                                                                         16 Plaintiff in violation of the law because of her sex and pregnancy, Plaintiff is entitled to punitive
                                                                                         17 damages against said Defendant, and each of them, in an amount within the jurisdiction of this
                                                                                         18 court, to be ascertained by the fact finder, that is sufficiently high to punish said Defendant, deter
                                                                                         19 them from engaging in such conduct again, and to make an example of them to others.
                                                                                         20 29.    Plaintiff is informed, believes, and based thereon, alleges that the outrageous conduct of
                                                                                            said Defendant described above were done with oppression and malice by Plaintiffs supervisor
                                                                                         21
                                                                                            and managers and were ratified by those other individuals who were managing agents of said
                                                                                         22
                                                                                            corporate Defendant. These unlawful acts were further ratified by the Defendant employers and
                                                                                         23
                                                                                            done with a conscious disregard for Plaintiffs rights and with the intent, design and purpose of
                                                                                         24
                                                                                            injuring Plaintiff. By reason thereof, Plaintiff is entitled to punitive or exemplary damages
                                                                                         25
                                                                                            against said Defendant, and each of them, for their acts as described in this cause of action in a
                                                                                         26 sum to be determined at the time of trial.
                                                                                         27
                                                                                         28



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                                                                                                                                          COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 15 of 36 Page ID #:21




                                                                                              30.    Plaintiff also prays for reasonable costs and attorney fees and costs against said Defendant
                                                                                          1




                                                                                                                                                                                                    CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                              named in this cause of action, as allowed by California Government Code Section 12965 for
                                                                                          2
                                                                                              Plaintiffs prosecution of this action in reference to the time Plaintiffs attorneys spend pursuing
                                                                                          3
                                                                                              this cause of action.
                                                                                          4
                                                                                          5
                                                                                                                               THIRD CAUSE OF ACTION
                                                                                          6                 VIOLATIONS OF LABOR CODE SECTIONS 1102.5(b) AND (c)
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                                                                                          7             (AGAINST DEFENDANT AMAZON, AND ALL DOE DEFENDANTS)
                                                                                          8
                                                                                          9 31.      Plaintiff re-alleges and incorporates paragraphs 1-11 of the General Allegations,

                                                                                         10 Paragraphs 12-21 of the First Cause of Action, Paragraphs 22-30 of the Second Cause of Action,
                                                                                            and hereby incorporates these paragraphs as though fully set forth and alleged herein.
                                                                                         11
                                                                                            32.    This cause of action is under the Labor Code Section 1102.5(b) which states that an
                                                                                         12
                                                                                            employer shall not retaliate against an employee for disclosing information, or because the
                                                                                         13
                                                                                            employer believes that the employee disclosed or may disclose information, to a person with
                                                                                         14
                                                                                            authority over the employee or another employee who has the authority to investigate, discover,
                                                                                         15
                                                                                            or correct the violation or noncompliance, or if the employee has reasonable cause to believe that
                                                                                         16 the information discloses a violation of state or federal statute, or a violation of or
                                                                                         17 noncompliance with a local, state, or federal rule or regulation, regardless of whether disclosing
                                                                                         18 the information is part of the employee's job duties. Plaintiff alleges that she was terminated in

                                                                                         19 retaliation for disclosing to AMAZON HR and her supervisor Jose that she was disabled, was
                                                                                         20 suffering from the side effects of undergoing chemotherapy to avoid cancer, she had a right to
                                                                                            special accommodation of taking time off to heal, needed lifting restrictions to heal from surgery,
                                                                                         21
                                                                                            had a pregnancy related disability, and needed a leave to deal with her pregnancy related
                                                                                         22
                                                                                            disability as alleged in Paragraphs 5-11, and the First and the Second Causes of Action in
                                                                                         23
                                                                                            violation of California Labor Code Section 1102.5(b).
                                                                                         24
                                                                                            33.     This cause of action is under the Labor Code Section 1102.5(c) which prohibits retaliation
                                                                                         25
                                                                                            of an employee who refuses to participate in an activity that would violate a statute. Plaintiff
                                                                                         26 alleges that she was terminated in retaliation for being disabled, having to suffer the side effects
                                                                                         27 of undergoing chemotherapy to avoid cancer, asserting her right to special accommodation of
                                                                                         28



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                                                                                                                                         COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 16 of 36 Page ID #:22




                                                                                              taking time off to heal, needing lifting restrictions to heal from surgery, being a woman, having a
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                                                                                              pregnancy related disability, and needing a leave to deal with her pregnancy related disability as
                                                                                          2
                                                                                              alleged in Paragraphs 5-11, and the First and the Second Causes of Action in violation of
                                                                                          3
                                                                                              California Labor Code Section 1102.5(c). Plaintiff tendered her restrictions due to the conditions
                                                                                          4
                                                                                              that create the First and the Second Causes of Action and Defendant fired her due to the
                                                                                          5
                                                                                              restrictions and caused her to violate them.
                                                                                          6 34.      Plaintiff is informed, believes, and based thereon, alleges that said Defendant terminated
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                                                                                          7 her employment in violation of the Labor Code Sections 1102.5(b), and 1102.5(c) in retaliation
                                                                                          8 for invoking her right to special accommodations because of her disability as alleged in

                                                                                          9 Paragraphs 5-11 and the First through the Third Causes of Action, which violates the following
                                                                                         10 public policies:
                                                                                                       a. California Government Code Section 12940(a), which prohibits employers from
                                                                                         11
                                                                                                           discriminating against their employees because of their employee's physical
                                                                                         12
                                                                                                           disability, for terminating Plaintiff in discrimination of her disability and taking a
                                                                                         13
                                                                                                           disability leave;
                                                                                         14
                                                                                                       b. Government Code section 12926 (m) provides that physical disability, and
                                                                                         15
                                                                                                           medical condition, includes a perception that the person has any of those
                                                                                         16                characteristics;
                                                                                         17              c. California Regulations, Title 2, Section 11065 (d) (2) which defines physical
                                                                                         18                  disabilities as a disorder affecting one or more of the body's major life activities;
                                                                                         19              d. California Regulations, Title 2, Section 11065 (1) which defines "major life

                                                                                         20                  activities" to include caring for one's self, performing manual tasks, walking and
                                                                                                             working;
                                                                                         21
                                                                                                         e. California Government Code Section 12926 (m)(B)(iii) which defines "major life
                                                                                         22
                                                                                                             activities" to include physical, mental, and social activities and working.
                                                                                         23
                                                                                                         f. California Government Code Section 12926 (m)(3) which defines a "physical
                                                                                         24
                                                                                                             disability" to include having a record or history of a disease, condition, or health
                                                                                         25
                                                                                                             impairment as defined in section (m)(1) or (2), which is known to the employer;
                                                                                         26              g. California Government Code Section 12926 (m)(1) (A) and (m)(1) (B) which
                                                                                         27                  states that "Physical disability" includes, but is not limited to, all of the following:
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                                                                                                                                          COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 17 of 36 Page ID #:23




                                                                                                        Having any physiological disease, disorder, condition, or anatomical loss that
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                                                                                                                                                                                                 CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                                        affects body's disease, disorder, or condition that affects body's immunological,
                                                                                          2
                                                                                                        blood, and reproductive systems;
                                                                                          3
                                                                                                    h. California Government Code Section 12926 (i)(1) "Medical condition" means
                                                                                          4
                                                                                                        any health impairment related to or associated with a diagnosis of cancer or a
                                                                                          5
                                                                                                        record or history of cancer;
                                                                                          6          i. California Government Code Section 12926 (m)(1) (B) (ii) which states that a
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                                                                                          7             physiological disease, disorder, condition, or anatomical loss limits a major life
                                                                                          8             activity if it makes the achievement of the major life activity difficult;
                                                                                          9         j. California Government Code Section 12940(h) which prohibits supervisors and

                                                                                         10             employers from retaliating against employees when employees do not put up with

                                                                                         11             statutorily prohibited conduct and exercise their rights under the Fair Employment
                                                                                                        and Housing Act for terminating Plaintiff in retaliation for taking a disability
                                                                                         12
                                                                                                        leave;
                                                                                         13
                                                                                                     k. California Government Code Section 12940(m), which makes it unlawful for an
                                                                                         14
                                                                                                        employer to fail to make special accommodations for the known physical
                                                                                         15
                                                                                                        disability of an employee for terminating Plaintiff and refusing to provide
                                                                                         16             Plaintiff disability leave and refusing to engage in an interactive dialogue to figure
                                                                                         17             out whether Plaintiff would need any special accommodations to accommodate
                                                                                         18             her disability;
                                                                                         19         1. California Government Code Sections 12900, 12921, 12926, 12926(h)(2),

                                                                                         20             12926(h)(1), 12926(i)(1), 12965.

                                                                                         21          m. California Government Code Section 12940(a), which prohibits employers from
                                                                                                        terminating and/or discriminating against their employees because of their
                                                                                         22
                                                                                                        employee's sex;
                                                                                         23
                                                                                                     n. California Government Code Section 12940(h) which prohibits supervisors and
                                                                                         24
                                                                                                        employers from retaliating against employees for refusing to put up with
                                                                                         25
                                                                                                        statutorily prohibited conduct under the Fair Employment and Housing Act;
                                                                                         26
                                                                                         27
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                                                                                                                                       COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 18 of 36 Page ID #:24




                                                                                                         o. California Code of Regulations Section 7291.2(d) which provide that
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                                                                                                             discrimination because of pregnancy, childbirth or related medical conditions
                                                                                          2
                                                                                                             constitutes sex discrimination under Government Code Section 12940;
                                                                                          3
                                                                                                         p. California Government Code Section 12926(o) which provides that sex under the
                                                                                          4
                                                                                                             DFEH Act includes pregnancy, childbirth, or medical conditions related to
                                                                                          5                  pregnancy or childbirth;
                                                                                          6              q. California Government Code Section 12945 which prohibits employers from
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                                                                                          7                  terminating and discriminating against their employees because of their
                                                                                          8                  employee's pregnancy, childbirth, or related medical conditions;
                                                                                          9              r. Article I Section VIII of the California Constitution, which prohibits sex and

                                                                                         10                  pregnancy discrimination regardless of how many employees an employer has.
                                                                                                         s. California Labor Code Section 1102.5(b) which states that an employer shall not
                                                                                         11
                                                                                                             retaliate against an employee for disclosing information, or because the employer
                                                                                         12
                                                                                                             believes that the employee disclosed or may disclose information, to a person
                                                                                         13
                                                                                                             with authority over the employee or another employee who has the authority to
                                                                                         14
                                                                                                             investigate, discover, or correct the violation or noncompliance, or if the
                                                                                         15
                                                                                                             employee has reasonable cause to believe that the information discloses a
                                                                                         16                  violation of state or federal statute, or a violation of or noncompliance with a
                                                                                         17                  local, state, or federal rule or regulation, regardless of whether disclosing the
                                                                                         18                  information is part of the employee's job duties;
                                                                                         19              t. California Labor Code Section 1102.5(c) which prohibits retaliation of an

                                                                                         20                  employee who refuses to participate in an activity that would violate a statute;
                                                                                                         u. All other state and federal statutes, regulations, administrative orders, and
                                                                                         21
                                                                                                             ordinances which effect society at large, and which discovery will reveal were
                                                                                         22
                                                                                                             violated by all named and DOE Defendants by discriminating and retaliating
                                                                                         23
                                                                                                             against Plaintiff, and firing Plaintiff.
                                                                                         24
                                                                                              35.    Defendant's actions, alleged in this cause of action, directly and proximately resulted in
                                                                                         25
                                                                                              Plaintiff suffering and continuing to suffer, extreme and severe anguish, humiliation,
                                                                                         26 embarrassment, emotional distress, mental suffering, nervousness, tension, anxiety, and
                                                                                         27
                                                                                         28



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                                                                                                                                           COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 19 of 36 Page ID #:25




                                                                                              depression, and causing Plaintiff to incur future medical bills, all to Plaintiffs detriment in a sum
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                                                                                                                                                                                                      CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                              within the jurisdiction of this court, to be ascertained according to proof.
                                                                                          2
                                                                                              36.    As a direct, foreseeable, and proximate result of the conduct of Defendant, named in this
                                                                                          3
                                                                                              cause of action, Plaintiff has suffered, and continues to suffer emotional distress, substantial
                                                                                          4
                                                                                              losses in salary, bonuses, job benefits, and other employment benefits which she would have
                                                                                          5
                                                                                              received from said Defendant, plus expenses incurred in obtaining substitute employment and
                                                                                          6 not being regularly employed for months, being without a source of income and benefits all to
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                                                                                          7 Plaintiff's damage in a sum within the jurisdiction of this court, to be ascertained according to
                                                                                          8 proof. Plaintiff also prays for all equitable relief awardable pursuant to Harris v. City of Santa
                                                                                          9 Monica (2013) 56 Cal.4th 203.
                                                                                         10 37.     The grossly reckless, and/or intentional, malicious, and bad faith manner in which said
                                                                                            Defendant engaged in those acts as described in this cause of action by willfully violating the
                                                                                         11
                                                                                            statutes enumerated in this cause of action and retaliating against Plaintiff by terminating
                                                                                         12
                                                                                            Plaintiff in violation of the law, Plaintiff is entitled to punitive damages against said Defendant in
                                                                                         13
                                                                                            an amount within the jurisdiction of this court, to be ascertained by the fact finder, that is
                                                                                         14
                                                                                            sufficiently high to punish said Defendant, deter them from engaging in such conduct again, and
                                                                                         15
                                                                                            to make an example of them to others.
                                                                                         16 38.     Plaintiff is informed, believes, and based thereon, alleges that the outrageous conduct of
                                                                                         17 said Defendant described above were done with oppression and malice by Plaintiff's supervisor
                                                                                         18 and managers and done with a conscious disregard for Plaintiff's rights and with the intent,
                                                                                         19 design and purpose of injuring Plaintiff. These unlawful acts were ratified by those other
                                                                                         20 individuals who were managing agents of said Defendant employers. By reason thereof,
                                                                                            Plaintiff is entitled to punitive or exemplary damages against said Defendant, for their acts as
                                                                                         21
                                                                                              described in this cause of action in a sum to be determined at the time of trial.
                                                                                         22
                                                                                              39.    Plaintiff prays for the $10,000 civil penalty that Labor Code Section 1102.5(e) imposes,
                                                                                         23
                                                                                              as well as all other remedies available under Labor Code Section 1102.5 against each Defendant.
                                                                                         24
                                                                                              Plaintiff prays for all recoverable penalties, including the up to $10,000 penalty allowed under
                                                                                         25
                                                                                              Labor Code § 1102.5(f) and its enhanced burden of proof.
                                                                                         26 40.      Plaintiff prays for attorney fees for pursuing this cause of action per Labor Code
                                                                                         27 §1102.5(j).
                                                                                         28



                                                                                                                                             14
                                                                                                                                          COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 20 of 36 Page ID #:26




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                                                                                                                                                                                                      CASE #:56-2022-00568151-CU-0E-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                                                                 FOURTH CAUSE OF ACTION
                                                                                          2
                                                                                                        WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
                                                                                          3
                                                                                                        (AGAINST DEFENDANT AMAZON, AND ALL DOE DEFENDANTS)
                                                                                          4
                                                                                          5
                                                                                              41.    Plaintiff re-alleges and incorporates paragraphs 1-11 of the General Allegations,
                                                                                          6 Paragraphs 12-21 of the First Cause of Action, Paragraphs 22-30 of the Second Cause of Action,
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                                                                                          7 Paragraphs 31-40 of the Third Cause of Action, and hereby incorporates these paragraphs as
                                                                                          8 though fully set forth and alleged herein.
                                                                                          9 42.      Under California law, no employee, whether they are an at-will employee, or an employee

                                                                                         10 under a written or other employment contract, can be terminated for a reason that is in violation
                                                                                            of a fundamental public policy. In recent years, the California court has interpreted a
                                                                                         11
                                                                                              fundamental public policy to be any articulable constitutional, statutory provision, or regulation
                                                                                         12
                                                                                              that is concerned with a matter effecting society at large rather than a purely personal or
                                                                                         13
                                                                                              proprietary interest of the employee or the employer. Moreover, the public policy must be
                                                                                         14
                                                                                              fundamental, substantial, and well established at the time of discharge.
                                                                                         15
                                                                                              43.    Plaintiff is informed, believes, and based thereon, alleges that Defendant terminated her in
                                                                                         16 retaliation for being disabled, having to suffer the side effects of undergoing chemotherapy to
                                                                                         17 avoid cancer, asserting her right to special accommodation of taking time off to heal, needing
                                                                                         18 lifting restrictions to heal from surgery, being a woman, having a pregnancy related disability,
                                                                                         19 and needing a leave to deal with her pregnancy related disability as alleged in Paragraphs 5-11,
                                                                                         20 and Causes of Action One through Three. Defendant's conduct described in the above sentence
                                                                                            violates the following statutes that effect society at large:
                                                                                         21
                                                                                                         a. California Government Code Section 12940(a), which prohibits employers from
                                                                                         22
                                                                                                             discriminating against their employees because of their employee's physical
                                                                                         23
                                                                                                             disability, for terminating Plaintiff in discrimination of her disability and taking a
                                                                                         24
                                                                                                             disability leave;
                                                                                         25
                                                                                                         b. Government Code section 12926 (m) provides that physical disability, and
                                                                                         26                  medical condition, includes a perception that the person has any of those
                                                                                         27                  characteristics;
                                                                                         28



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                                                                                                                                          COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 21 of 36 Page ID #:27




                                                                                                    c. California Regulations, Title 2, Section 11065 (d) (2) which defines physical
                                                                                          1




                                                                                                                                                                                                   CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                                        disabilities as a disorder affecting one or more of the body's major life activities;
                                                                                          2
                                                                                                    d. California Regulations, Title 2, Section 11065 (1) which defines "major life
                                                                                          3
                                                                                                        activities" to include caring for one's self, performing manual tasks, walking and
                                                                                          4
                                                                                                        working;
                                                                                          5
                                                                                                     e. California Government Code Section 12926 (m)(B)(iii) which defines "major life
                                                                                          6             activities" to include physical, mental, and social activities and working.
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                                                                                          7          f. California Government Code Section 12926 (m)(3) which defines a "physical
                                                                                          8             disability" to include having a record or history of a disease, condition, or health
                                                                                          9             impairment as defined in section (m)(1) or (2), which is known to the employer;

                                                                                         10          g. California Government Code Section 12926 (m)(1) (A) and (m)(1) (B) which
                                                                                                        states that "Physical disability" includes, but is not limited to, all of the following:
                                                                                         11
                                                                                                        Having any physiological disease, disorder, condition, or anatomical loss that
                                                                                         12
                                                                                                        affects body's disease, disorder, or condition that affects body's immunological,
                                                                                         13
                                                                                                        blood, and reproductive systems;
                                                                                         14
                                                                                                     h. California Government Code Section 12926 (i)(1) "Medical condition" means
                                                                                         15
                                                                                                        any health impairment related to or associated with a diagnosis of cancer or a
                                                                                         16             record or history of cancer;
                                                                                         17          i. California Government Code Section 12926 (m)(1) (B) (ii) which states that a
                                                                                         18             physiological disease, disorder, condition, or anatomical loss limits a major life
                                                                                         19             activity if it makes the achievement of the major life activity difficult;

                                                                                         20         j. California Government Code Section 12940(h) which prohibits supervisors and

                                                                                         21             employers from retaliating against employees when employees do not put up with
                                                                                                        statutorily prohibited conduct and exercise their rights under the Fair Employment
                                                                                         22
                                                                                                        and Housing Act for terminating Plaintiff in retaliation for taking a disability
                                                                                         23
                                                                                                        leave;
                                                                                         24
                                                                                                     k. California Government Code Section 12940(m), which makes it unlawful for an
                                                                                         25
                                                                                                        employer to fail to make special accommodations for the known physical
                                                                                         26             disability of an employee for terminating Plaintiff and refusing to provide
                                                                                         27             Plaintiff disability leave and refusing to engage in an interactive dialogue to figure
                                                                                         28



                                                                                                                                          16
                                                                                                                                       COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 22 of 36 Page ID #:28




                                                                                                         out whether Plaintiff would need any special accommodations to accommodate
                                                                                          1
                                                                                                         her disability;
                                                                                          2
                                                                                                    1.   California Government Code Sections 12900, 12921, 12926, 12926(h)(2),
                                                                                          3
                                                                                                         12926(h)(1), 12926(i)(1), 12965.
                                                                                          4
                                                                                                     m. California Government Code Section 12940(a), which prohibits employers from
                                                                                          5
                                                                                                         terminating and/or discriminating against their employees because of their
                                                                                          6              employee's sex;
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                                                                                          7          n. California Government Code Section 12940(h) which prohibits supervisors and
                                                                                          8              employers from retaliating against employees for refusing to put up with
                                                                                          9              statutorily prohibited conduct under the Fair Employment and Housing Act;

                                                                                         10          o. California Code of Regulations Section 7291.2(d) which provide that
                                                                                                         discrimination because of pregnancy, childbirth or related medical conditions
                                                                                         11
                                                                                                         constitutes sex discrimination under Government Code Section 12940;
                                                                                         12
                                                                                                     p. California Government Code Section 12926(o) which provides that sex under the
                                                                                         13
                                                                                                         DFEH Act includes pregnancy, childbirth, or medical conditions related to
                                                                                         14
                                                                                                         pregnancy or childbirth;
                                                                                         15
                                                                                                     q. California Government Code Section 12945 which prohibits employers from
                                                                                         16              terminating and discriminating against their employees because of their
                                                                                         17              employee's pregnancy, childbirth, or related medical conditions;
                                                                                         18          r. Article I Section VIII of the California Constitution, which prohibits sex and
                                                                                         19              pregnancy discrimination regardless of how many employees an employer has.

                                                                                         20          s. California Labor Code Section 1102.5(b) which states that an employer shall not
                                                                                                         retaliate against an employee for disclosing information, or because the employer
                                                                                         21
                                                                                                         believes that the employee disclosed or may disclose information, to a person
                                                                                         22
                                                                                                         with authority over the employee or another employee who has the authority to
                                                                                         23
                                                                                                         investigate, discover, or correct the violation or noncompliance, or if the
                                                                                         24
                                                                                                         employee has reasonable cause to believe that the information discloses a
                                                                                         25
                                                                                                         violation of state or federal statute, or a violation of or noncompliance with a
                                                                                         26              local, state, or federal rule or regulation, regardless of whether disclosing the
                                                                                         27              information is part of the employee's job duties;
                                                                                         28



                                                                                                                                         17
                                                                                                                                      COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 23 of 36 Page ID #:29




                                                                                                          t. California Labor Code Section 1102.5(c) which prohibits retaliation of an
                                                                                           1
                                                                                                             employee who refuses to participate in an activity that would violate a statute;
                                                                                           2
                                                                                                          u. All other state and federal statutes, regulations, administrative orders, and
                                                                                           3
                                                                                                             ordinances which effect society at large, and which discovery will reveal were
                                                                                           4
                                                                                                             violated by all named and DOE Defendants by discriminating and retaliating
                                                                                           5
                                                                                                             against Plaintiff, and firing Plaintiff.
                                                                                           6 44.     Plaintiff alleges that said Defendant, and all DOE Defendants, violated articulable public
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                                                                                           7 policies, affecting society at large, by violating the statutes as described in the above Paragraph,
                                                                                           8 when said Defendant terminated and retaliated against Plaintiff in violation of public policy by
                                                                                           9 terminating Plaintiff for the reasons stated in the above paragraph.
                                                                                          10 45.     Specifically, Plaintiff alleges that said Defendant's violations of the above referred
                                                                                             statutes affect society at large because they affect the health and safety of workers.
                                                                                          11
                                                                                             46.     As a direct, foreseeable, and proximate result of the actions of said Defendant, and each
                                                                                          12
                                                                                             of their acts as described in this cause of action, Plaintiff has suffered, and continues to suffer,
                                                                                          13
                                                                                             severe emotional distress, substantial losses in salary, bonuses, job benefits, and other
                                                                                          14
                                                                                             employment benefits she would have received from said Defendant plus expenses incurred in
                                                                                          15
                                                                                             obtaining substitute employment and not being regularly employed for months, as well as
                                                                                          16 financial losses, all to Plaintiffs damage, in a sum within the jurisdiction of this court, to be
                                                                                          17 ascertained according to proof.




                                                                                                                                                                                                    CASE #:56-2022-00568151-CU-0E-VTA RECEIPT #:
                                                                                          18 47.     The grossly reckless and/or intentional, malicious, and bad faith manner in which said
                                                                                          19 defendant conducted itself as described in this cause of action by willfully violating those
                                                                                         20 statutes enumerated in this Cause of Action, Plaintiff prays for punitive damages against said
                                                                                         21 Defendant in an amount within the jurisdiction of this court, to be ascertained by the fact finder,
                                                                                               that is sufficiently high to punish said Defendant, deter them from engaging in such conduct
                                                                                          22
                                                                                               again, and to make an example of them to others.
                                                                                          23
                                                                                               48.   Plaintiff is informed, believes, and based thereon, alleges that the outrageous conduct of
                                                                                         24
                                                                                               said Defendant described above, in this cause of action, was done with oppression, and malice,
                                                                                         25
                                                                                               by Plaintiffs supervisor and manager and was ratified by those other individuals who were
                                                                                         26 managing agents of the Defendant employer. These unlawful acts were further ratified by the
                                                                                         27 Defendant employer and done with a conscious disregard for Plaintiffs rights and with the intent,
                                                                                         28



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                                                                                                                                           COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 24 of 36 Page ID #:30




                                                                                              design and purpose of injuring Plaintiff. By reason thereof, Plaintiff is entitled to punitive or
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                                                                                                                                                                                                  CASE #:56-2022-00568151-CU-0E-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                              exemplary damages against said Defendant for their acts as described in this cause of action in a
                                                                                          2
                                                                                              sum to be determined at the time of trial.
                                                                                          3
                                                                                          4
                                                                                                                                  FIFTH CAUSE OF ACTION
                                                                                          5
                                                                                                                   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                                                                          6                (AGAINST DEFENDANT AMAZON, AND ALL DOE DEFENDANTS)
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                                                                                          7
                                                                                          8 49.         Plaintiff re-alleges and incorporates paragraphs 1-11 of the General Allegations,
                                                                                          9 Paragraphs 12-21 of the First Cause of Action, Paragraphs 22-30 of the Second Cause of Action,
                                                                                         10 Paragraphs 31-40 of the Third Cause of Action, Paragraphs 41-48 of the Fourth Cause of Action
                                                                                            above, and incorporates these paragraphs into this cause of action as if they were fully alleged
                                                                                         11
                                                                                              herein.
                                                                                         12
                                                                                              50.       Defendant acted intentionally and/or recklessly and subjected Plaintiff to severe
                                                                                         13
                                                                                              emotional distress by doing the outrageous acts alleged to have been done by said Defendant
                                                                                         14
                                                                                              throughout this complaint by terminating Plaintiffs employment in violation of public policy as
                                                                                         15
                                                                                              the first four causes of action indicate. Defendant caused Plaintiff to violate her restrictions
                                                                                         16 she needed in order to heal from the side effects of her disability.
                                                                                         17 51.         Defendant terminated Plaintiff in violation of public policy, and FEHA, by terminating
                                                                                         18 her in discrimination and retaliation for being disabled, having to suffer the side effects of
                                                                                         19 undergoing chemotherapy to avoid cancer, asserting her right to special accommodation of
                                                                                         20 taking time off to heal, needing lifting restrictions to heal from surgery, being a woman, having a
                                                                                            pregnancy related disability, and needing a leave to deal with her pregnancy related disability as
                                                                                         21
                                                                                              alleged in Paragraphs 5-11, and the First through the Fourth Causes of Action.
                                                                                         22
                                                                                              52.       Defendant retaliated and discriminated against Plaintiff by terminating her because she
                                                                                         23
                                                                                              had a disability, had a pregnancy related disability, needed time to heal from the symptoms of
                                                                                         24
                                                                                              her disability, and had temporary work restrictions due to the side effects of her disability.
                                                                                         25
                                                                                              Plaintiffs disability one necessitated her to take the FEHA special accommodations of
                                                                                         26 restrictions and medical leave to heal.
                                                                                         27
                                                                                         28



                                                                                                                                               19
                                                                                                                                            COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 25 of 36 Page ID #:31




                                                                                                   Defendant terminated Plaintiff on or about March 29, 2022, in retaliation for being
                                                                                          1 53.




                                                                                                                                                                                                     CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 12207220103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                            disabled, and asserting her right to special accommodation of taking time off to heal, as alleged
                                                                                          2
                                                                                            in Paragraphs 5-11, and the First through the Fourth Causes of Action.
                                                                                          3
                                                                                            54.    In doing the acts herein alleged that form the First through the Fourth Causes of Action,
                                                                                          4
                                                                                            Defendant acted outrageously with the intent of causing (or with reckless disregard of the
                                                                                          5
                                                                                            probability of causing) severe emotional distress to Plaintiff. Specifically, it was outrageous to:
                                                                                          6            a. Terminate Plaintiff in discrimination for having a disability;
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                                                                                          7                b. Terminate Plaintiff in retaliation for needing special accommodations;
                                                                                          8 55.      Defendant's actions, alleged in this cause of action, directly and proximately resulted in
                                                                                          9 Plaintiff suffering and continuing to suffer, extreme and severe anguish, humiliation,
                                                                                         10 embarrassment, emotional distress, mental suffering, nervousness, tension, anxiety, and
                                                                                         11 depression, and causing Plaintiff to incur future medical bills, all to Plaintiffs detriment in a sum
                                                                                              within the jurisdiction of this court, to be ascertained according to proof.
                                                                                         12
                                                                                              56.    As a direct, foreseeable, and proximate result of said Defendant's actions, and each of
                                                                                         13
                                                                                              their actions alleged in this cause of action, Plaintiff has suffered, and continues to suffer,
                                                                                         14
                                                                                              substantial losses in job opportunities, career losses, salary, bonuses, job benefits, and other
                                                                                         15
                                                                                              employment benefits she would have received had said Defendant's actions, and each of their
                                                                                         16 actions, not caused her such emotional suffering and grief, all to Plaintiffs damage, in a sum
                                                                                         17 within the jurisdiction of this court, to be ascertained according to proof.
                                                                                         18 57.      As a direct, foreseeable, and proximate result of said Defendant's actions, and each of
                                                                                         19 their actions as alleged in this cause of action, which were intentional, malicious, oppressive, and
                                                                                         20 made in a bad faith manner in an attempt to vex, injure, annoy, and/or willfully and consciously
                                                                                            disregard Plaintiffs rights by taking the actions alleged in this cause of action, Plaintiff prays for
                                                                                         21
                                                                                              punitive damages against said Defendant in a sum within the jurisdiction of this court, to be
                                                                                         22
                                                                                              ascertained, according to proof, in a sufficiently large amount to punish said Defendant, deter
                                                                                         23
                                                                                              future conduct by said Defendant and others behaving like them, and to make an example of said
                                                                                         24
                                                                                              Defendant.
                                                                                         25
                                                                                                     WHEREFORE, Plaintiff prays for the following relief, to be determined by a jury as
                                                                                         26 follows:
                                                                                         27          For All Causes of Action:
                                                                                         28



                                                                                                                                              20
                                                                                                                                           COMPLAINT
Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 26 of 36 Page ID #:32




         1.     For general damages in an amount according to proof, but in excess of the
  1




                                                                                                       CASE #:56-2022-00568151-CU-0E-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                minimum jurisdiction of this court;
  2
         2.     For special damages in an amount according to proof, but in the excess of the
  3
                minimum jurisdiction of this court, in order to compensate Plaintiff for her loss of
  4
                past and future earnings, and all damages flowing from Plaintiff's loss of earnings,
  5
                loss of job security, failure to properly advance within her career, and damage to
  6             her reputation;
  7      3.     For all costs and disbursements incurred in this suit;
  8      4.     For such other and further relief as the Court deems just and proper;
  9      5.     For all interest as allowed by law;

 10      6.     For all general and special damages in an amount according to proof, but in the
                excess of the minimum jurisdiction of this court, in order to compensate Plaintiff
 11
                for any medical expenses and suffering;
 12
 13
         For the First Cause of Action:
 14
         7.     For reasonable attorney's fees and costs, as allowed by law under Section 12965 of
 15
                the California Fair Employment and Housing Act, for the time that Plaintiff's
 16             attorney spends pursuing this cause of action, and for costs;
 17      8.     For all equitable relief awardable pursuant to Harris v. City of Santa Monica
 18             (2013) 56 Cal.4th 203;
 19
 20      For the Second Cause of Action:
         9.     For reasonable attorney's fees and costs, as allowed by law under Section 12965 of
 21
                the California Fair Employment and Housing Act, for the time that Plaintiff's
 22
                attorney spends pursuing this cause of action, and for costs;
 23
         10.    For all equitable relief awardable pursuant to Harris v. City of Santa Monica
 24
                (2013) 56 Cal.4th 203;
 25
 26      For the Third Cause of Action:
 27
 28



                                                21
                                             COMPLAINT
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 27 of 36 Page ID #:33




                                                                                                    9.     For the California Labor Code 1102.5 penalty and burden of proof articulated in




                                                                                                                                                                                             CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                                           California Labor Code Section 1102.6;
                                                                                          2
                                                                                                    10.    For the California Labor Code Section 1102.5 penalties of $10,000.00;
                                                                                          3
                                                                                          4         11.    Attorney fees for pursuing this Cause of Action under California Labor Code

                                                                                          5                 Section 1102.5(j).

                                                                                          6
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                                                                                          7

                                                                                          8
                                                                                              Dated: July 19, 2022                                  EMPLOYMENT LAWYERS GROUP
                                                                                          9

                                                                                         10                                                   By:
                                                                                         11                                                         Karl Gerber
                                                                                                                                                    Ann Guleser
                                                                                         12                                                         ATTORNEYS FOR PLAINTIFF,
                                                                                                                                                    DALIE ELYSE YOUNG
                                                                                         13
                                                                                         14
                                                                                         15


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                                                                                                                                          22
                                                                                                                                       COMPLAINT
     Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 28 of 36 Page ID #:34
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                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 29 of 36 Page ID #:35

                                                                                                   STATE OF CALIFORNIA I Business, Consumer Services and Housing Agency                                     GAVIN NEWSOM. GOVERNOR
                                                                                                                                                                                                                KEVIN KISH, DIRECTOR
                                                                                                   DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
                                                                                                   2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
                                                                                                   (800) 884-1684 (Voice) I (800) 700-2320 (TTY) I California's Relay Service at 711
                                                                                                   http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov




                                                                                                                                                                                                                                       CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                            July 19, 2022

                                                                                            Ann Guleser
                                                                                            13418 Ventura Blvd.
                                                                                            Sherman Oaks, CA 91423

                                                                                            RE:    Notice to Complainant's Attorney
                                                                                                   DFEH Matter Number: 202207-17636219
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                                                                                                   Right to Sue: YOUNG / AMAZON.COM SERVICES LLC

                                                                                            Dear Ann Guleser:

                                                                                            Attached is a copy of your complaint of discrimination filed with the Department of Fair
                                                                                            Employment and Housing (DFEH) pursuant to the California Fair Employment and
                                                                                            Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
                                                                                            Notice of Case Closure and Right to Sue.

                                                                                            Pursuant to Government Code section 12962, DFEH will not serve these
                                                                                            documents on the employer. You must serve the complaint separately, to all named
                                                                                            respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
                                                                                            information regarding filing a private lawsuit in the State of California. A courtesy "Notice
                                                                                            of Filing of Discrimination Complaint" is attached for your convenience.,

                                                                                            Be advised that the DFEH does not review or edit the complaint form to ensure that it
                                                                                            meets procedural or statutory requirements.

                                                                                            Sincerely,


                                                                                            Department of Fair Employment and Housing




                                                                                                                                                                                       Form DFEH-ENF 80 RS (Revised 02/22)
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 30 of 36 Page ID #:36

                                                                                                   STATE OF CALIFORNIA I Business. Consumer Services and Housing Agency                                   GAMIN NEWSOM. GOVERNOR
                                                                                                                                                                                                              KEVIN KISH, DIRECTOR
                                                                                                   DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
                                                                                                   2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
                                                                                                   (800) 884-1684 (Voice) I (800) 700-2320 (TTY) California's Relay Service at 711
                                                                                                   http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov




                                                                                                                                                                                                                                     CASE #:56-2022-00568151-CU-0E-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                            July 19, 2022

                                                                                            RE:    Notice of Filing of Discrimination Complaint
                                                                                                   DFEH Matter Number: 202207-17636219
                                                                                                   Right to Sue: YOUNG / AMAZON.COM SERVICES LLC

                                                                                            To All Respondent(s):
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                                                                                            Enclosed is a copy of a complaint of discrimination that has been filed with the
                                                                                            Department of Fair Employment and Housing (DFEH) in accordance with Government
                                                                                            Code section 12960. This constitutes service of the complaint pursuant to Government
                                                                                            Code section 12962. The complainant has requested an authorization to file a lawsuit. A
                                                                                            copy of the Notice of Case Closure and Right to Sue is enclosed for your records.

                                                                                            This matter may qualify for DFEH's Small Employer Family Leave Mediation
                                                                                            Pilot Program. Under this program, established under Government Code
                                                                                            section 12945.21, a small employer with 5 -19 employees, charged with violation
                                                                                            of the California Family Rights Act, Government Code section 12945.2, has the
                                                                                            right to participate in DFEH's free mediation program. Under this program both
                                                                                            the employee requesting an immediate right to sue and the employer charged
                                                                                            with the violation may request that all parties participate in DFEH's free
                                                                                            mediation program. The employee is required to contact the Department's
                                                                                            Dispute Resolution Division prior to filing a civil action and must also indicate
                                                                                            whether they are requesting mediation. The employee is prohibited from filing a
                                                                                            civil action unless the Department does not initiate mediation within the time
                                                                                            period specified in section 12945.21, subdivision (b) (4), or until the mediation is
                                                                                            complete or is unsuccessful. The employee's statute of limitations to file a civil
                                                                                            action, including for all related claims not arising under section 12945.2, is tolled
                                                                                            from the date the employee contacts the Department regarding the intent to
                                                                                            pursue legal action until the mediation is complete or is unsuccessful. You may
                                                                                            contact DFEH's Small Employer Family Leave Mediation Pilot Program by
                                                                                            emailing DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter
                                                                                            number indicated on the Right to Sue notice.


                                                                                            Please refer to the attached complaint for a list of all respondent(s) and their contact
                                                                                            information.

                                                                                            No response to DFEH is requested or required.

                                                                                            Sincerely,




                                                                                                                                                                                     Form DFEH-ENF 80 RS (Revised 02/22)
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 31 of 36 Page ID #:37

                                                                                                  STATE OF CALIFORNIA I Business. Consumer Services and Housina Mem,                                       GAVIN NEWSOM GOVERNOR

                                                                                                  DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                                       KEVIN KISH, DIRECTOR

                                                                                                  2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
                                                                                                  (800) 884-1684 (Voice) I (800) 700-2320 (TTY) I California's Relay Service at 711
                                                                                                  http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov




                                                                                                                                                                                                                                       CASE #:56-2022-00568151-CU-0E-VTA RECEIPT #: 12207220103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                            Department of Fair Employment and Housing
Ventura Superior Court Accepted through eDelivery submitted 07-19-2022 at 03:15:49 PM




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                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 32 of 36 Page ID #:38

                                                                                                   STATE OF CALIFORNIA I Business. Consumer Services and Housing Agency                                     GAVIN NEWSOM. GOVERNOR

                                                                                                   DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                                      KEVIN KISH, DIRECTOR

                                                                                                   2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
                                                                                                   (800) 884-1684 (Voice) I (800) 700-2320 (TTY) i California's Relay Service at 711
                                                                                                   httpilwww.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov




                                                                                                                                                                                                                                       CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                            July 19, 2022

                                                                                            DALIE YOUNG
                                                                                            13418 Ventura Boulevard
                                                                                            Sherman Oaks, 91423

                                                                                            RE:    Notice of Case Closure and Right to Sue
                                                                                                   DFEH Matter Number: 202207-17636219
Ventura Superior Court Accepted through eDelivery submitted 07-19-2022 at 03:15:49 PM




                                                                                                   Right to Sue: YOUNG / AMAZON.COM SERVICES LLC

                                                                                            Dear DALIE YOUNG:

                                                                                            This letter informs you that the above-referenced complaint filed with the Department of
                                                                                            Fair Employment and Housing (DFEH) has been closed effective July 19, 2022 because
                                                                                            an immediate Right to Sue notice was requested.

                                                                                            This letter is also your Right to Sue notice. According to Government Code section
                                                                                            12965, subdivision (b), a civil action may be brought under the provisions of the Fair
                                                                                            Employment and Housing Act against the person, employer, labor organization or
                                                                                            employment agency named in the above-referenced complaint. The civil action must be
                                                                                            filed within one year from the date of this letter.

                                                                                            This matter may qualify for DFEH's Small Employer Family Leave Mediation
                                                                                            Pilot Program. Under this program, established under Government Code section
                                                                                            12945.21, a small employer with 5 -19 employees, charged with violation of the
                                                                                            California Family Rights Act, Government Code section 12945.2, has the right to
                                                                                            participate in DFEH's free mediation program. Under this program both the
                                                                                            employee requesting an immediate right to sue and the employer charged with
                                                                                            the violation may request that all parties participate in DFEH's free mediation
                                                                                            program. The employee is required to contact the Department's Dispute
                                                                                            Resolution Division prior to filing a civil action and must also indicate whether
                                                                                            they are requesting mediation. The employee is prohibited from filing a civil
                                                                                            action unless the Department does not initiate mediation within the time period
                                                                                            specified in section 12945.21, subdivision (b) (4), or until the mediation is
                                                                                            complete or is unsuccessful. The employee's statute of limitations to file a civil
                                                                                            action, including for all related claims not arising under section 12945.2, is tolled
                                                                                            from the date the employee contacts the Department regarding the intent to
                                                                                            pursue legal action until the mediation is complete or is unsuccessful. Contact
                                                                                            DFEH's Small Employer Family Leave Mediation Pilot Program by emailing
                                                                                            DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter number
                                                                                            indicated on the Right to Sue notice.




                                                                                                                                                                                       Form DFEH-ENF 80 RS (Revised 02/22)
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 33 of 36 Page ID #:39

                                                                                                  STATE OF CALIFORNIA I Business. Consumer Services and Housing Agency                                     GAVIN NEWSOM, GOVERNOR

                                                                                              )`N DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                                      KEVIN KISH, DIRECTOR

                                                                                                  2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
                                                                                                  (800) 884-1684 (Voice) I (800) 700-2320 (TTY) I California's Relay Service at 711
                                                                                                  http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov




                                                                                                                                                                                                                                      CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE: EFT
                                                                                            To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
                                                                                            Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
                                                                                            DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
                                                                                            whichever is earlier.

                                                                                            Sincerely,
Ventura Superior Court Accepted through eDelivery submitted 07-19-2022 at 03:15:49 PM




                                                                                            Department of Fair Employment and Housing




                                                                                                                                                                                      Form DFEH-ENF 80 RS (Revised 02/22)
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 34 of 36 Page ID #:40




                                                                                          1                      COMPLAINT OF EMPLOYMENT DISCRIMINATION
                                                                                                                       BEFORE THE STATE OF CALIFORNIA




                                                                                                                                                                                                   CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                          2                    DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                                                                                                               Under the California Fair Employment and Housing Act
                                                                                          3
                                                                                                                           (Gov. Code, § 12900 et seq.)
                                                                                          4
                                                                                              In the Matter of the Complaint of
                                                                                          5    DALIE YOUNG                                                 DFEH No. 202207-17636219

                                                                                          6                                Complainant,
Ventura Superior Court Accepted through eDelivery submitted 07-19-2022 at 03:15:49 PM




                                                                                              VS.
                                                                                          7

                                                                                          8    AMAZON.COM SERVICES LLC

                                                                                          9
                                                                                                                            Respondents
                                                                                         10

                                                                                         11

                                                                                         12
                                                                                              1. Respondent AMAZON.COM SERVICES LLC is an employer subject to suit under the
                                                                                         13   California Fair Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

                                                                                         14

                                                                                         15   2. Complainant DALIE YOUNG, resides in the City of Sherman Oaks, State of .

                                                                                         16
                                                                                            3. Complainant alleges that on or about March 29, 2022, respondent took the
                                                                                         17 following adverse actions:

                                                                                         18 Complainant was discriminated against because of complainant's sex/gender, disability
                                                                                            (physical or mental), medical condition (cancer or genetic characteristic), pregnancy,
                                                                                         19
                                                                                            childbirth, breast feeding, and/or related medical conditions and as a result of the
                                                                                         20 discrimination  was terminated, denied reasonable accommodation for a disability, denied
                                                                                            accommodation for pregnancy.
                                                                                         21
                                                                                            Complainant experienced retaliation because complainant requested or used a
                                                                                         22 pregnancy-disability-related  accommodation, requested or used a disability-related
                                                                                            accommodation and as a result was terminated, denied reasonable accommodation for a
                                                                                         23 disability, denied accommodation for pregnancy.

                                                                                         24

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                                                                                                                          Complaint — DFEH No. 202207-17636219
                                                                                         27
                                                                                              Date Filed: July 19, 2022
                                                                                         28
                                                                                                                                                             Form DFEH-ENF 80 RS (Revised 02/22)
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 35 of 36 Page ID #:41




                                                                                         1 Additional Complaint Details: Ms. Young has the disability of gestational trophoblastic
                                                                                           neoplasia. She was terminated in retaliation for being disabled, having to suffer the side




                                                                                                                                                                                                    CASE #:56-2022-00568151-CU-OE-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                         2 effects of undergoing chemotherapy to avoid cancer, asserting her right to special
                                                                                           accommodation of taking time off to heal, needing lifting restrictions to heal from surgery,
                                                                                         3 being a woman, having a pregnancy related disability, and needing a leave to deal with her
                                                                                           pregnancy related disability Ms. Young tendered her restrictions due to her disability and her
                                                                                         4 employer fired her due to the restrictions and caused her to violate them.

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                                                                                                                          Complaint — DFEH No. 202207-17636219
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                                                                                              Date Filed: July 19, 2022
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                                                                                                                                                              Form DFEH-ENF 80 RS (Revised 02/22)
                                                                                        Case 2:22-cv-06101-HDV-MAA Document 1-1 Filed 08/26/22 Page 36 of 36 Page ID #:42




                                                                                         1 VERIFICATION




                                                                                                                                                                                                   CASE #:56-2022-00568151-CU-0E-VTA RECEIPT #: 1220722D103912 DATE PAID : 07/22/22 4:26 PM TOTAL : 435.00 TYPE : EFT
                                                                                         2 I, Ann Guleser, am the Attorney in the above-entitled complaint. I have read the
                                                                                         3 foregoing complaint and know the contents thereof. The matters alleged are based
                                                                                           on information and belief, which I believe to be true.
                                                                                         4
                                                                                           On July 19, 2022, I declare under penalty of perjury under the laws of the State of
                                                                                         5 California that the foregoing is true and correct.
                                                                                          6                                                                      Sherman Oaks, CA
Ventura Superior Court Accepted through eDelivery submitted 07-19-2022 at 03:15:49 PM




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                                                                                                                          Complaint — DFEH No. 202207-17636219
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                                                                                              Date Filed: July 19, 2022
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